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Attorneys for Defendant
ABBOTT LABORATORIES INC. and
ABBOTT LABORATORIES

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SHIMRIT VAVAK, individually and on
behalf of all others similarly situated,

Plaintiff,
V.

ABBOTT LABORATORIES, INC. d/b/a
ABBOTT SALES, MARKETING and
DISTRIBUTION CO., a Delaware
corporation, and ABBOTT
LABORATORIES d/b/a ABBOTT
NUTRITION, an Illinois corporation,

 

Defendants.

 

Case No. SACV 10 1995 JVS (RZx)

DECLARATION OF EDWARD R.
FITZGERALD IN SUPPORT OF
OPPOSITION TO PLAINTIFF’S
MOTION FOR REMAND

Date: February 28, 2011
Time: 1:30 p.m.
Judge: James Selna

Accompanying Documents:
Memorandum ot Law

 

 

DECL. OF EDWARD R. FITZGERALD IN SUPPORT OF OPPOSITION TO PLAINTIFF’S MOTION TO
REMAND

 
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P 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 2of25 Page ID #:343

I, Edward R. Fitzgerald, declare as follows:

1. I am an attorney with the law firm of Gordon & Rees LLP, counsel for the
defendants Abbott Laboratories Inc. and Abbott Laboratories (collectively “Abbott”) in the above-
entitled action. I am familiar with the matters set forth in this declaration based upon my own
personal knowledge and my review of the files maintained for this case. If called as a witness, I
could and would competently testify to the following facts.

2. Attached hereto as Exhibit A is a true and correct copy of the Court’s October 19,
2010 Memorandum Order in Kiely v. Abbott Laboratories Inc., Case No. 10-CV-694-MIS (N.D.
Il.).

3. Attached hereto as Exhibit B is a true and correct copy of the transcript from the
October 26, 2010 Court hearing in Kiely v. Abbott Laboratories Inc., Case No. 10-CV-694-MIS
(N.D. III).

4, Attached hereto as Exhibit C is a true and correct copy of the January 25, 2011
Declaration of Jeff Barton submitted in Jovine v. Abbott Laboratories Inc., et al., Case No. 9:11-
CV-80111-JIC.

Pursuant to Title 28 of the United States Code § 1746, I declare under penalty of perjury

that the foregoing is true and correct.

Dated: February 7, 2011 GORDON & REES LLP

By: _/s/ Edward R. Fitzgerald
Bnian J. Mooney
Edward R. Fitzgerald

 

Attorneys for Defendants
Abbott Laboratories, Inc. and Abbott
Laboratories

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DECL. OF EDWARD R. FITZGERALD IN SUPPORT OF OPPOSITION TO PLAINTIFF’S MOTION TO
REMAND

 
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EXHIBIT A

 

EXHIBIT A
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 4of 25 Page ID #:345
Case: 1:10-cv-06694 Document #: 4 Filed: 10/19/10 Page 1 of 3 PagelD #:24

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
MARIA C. KIELY, etc.,
Plaintiff,
No. 10 C 6694

Vv.

ABBOTT LABORATORIES, INC., etc.,
et al.,

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Defendants.
MEMORANDUM ORDER

This Court has just received, by random assignment, the
action brought by Maria Kiely (“Kiely”) as the representative
plaintiff in a putative class action against Abbott Laboratories,
Inc. and Abbott Laboratories (collectively “Abbott,” treated
solely for convenience as a singular noun). Because Kiely like
Abbott is an Illinois citizen, and because the Class Action
Complaint (“Complaint”) has carved up a single “claim” in the
federal sense into nine state law counts,! Kiely’s counsel seeks
to rely on CAFA (28 U.S.C. §1332(d)) to open the door to the
federal courthouse.

Kiely charges Abbott with an undue delay of some six

 

* This Court has frequently noted the inconsistency between

that approach to “counts,” drawn from the state court concept of
“causes of action,” and the provision of Fed. R. Civ. P. (“Rule”)
10(b) that calls for separate counts only where more than one
“claim founded on a separate transaction or occurrence” is

 

involved-- something that is not the case here. In that regard,
see NAACP v. Am. Family Mut. Ins. Co., 978 F.2d 287, 291-93 (7th
Cir. 1992). This memorandum order will not pause on that score,

however.
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 5of25 Page ID #:346
Case: 1:10-cv-06694 Document #: 4 Filed: 10/19/10 Page 2 of 3 PagelD #:25

days-~from its September 16, 2010 discovery of the possible
problem referred to hereafter to the September 22 recall of its
Similac infant products--as causing injury to the prospective
plaintiff class members (Complaint {43 proposes both (1) a
nationwide class of purchasers of Similac, a notion that seems
problematic in light of the Complaint’s sole concentration on
Illinois law, and (2) a subclass limited to Illinois purchasers).
In support of the claimed damages to the class members, Complaint
f@16 quotes Abbott’s September 22 public announcement:

Abbott is recalling these products following an

internal quality review, which detected the remote

possibility of the presence of a small common beetle in

the product produced in one production area in a single

manufacturing facility. The United States Food and

Drug Administration (FDA) has determined that while the

formula containing these beetles poses no immediate

health risk, there is a possibility that infants who

consume formula containing the beetles or their larvae

could experience symptoms of gastrointestinal

discomfort and refusal to eat as a result of small

insect parts irritating the GI tract. If these

symptoms persist for more than a few days, a physician

should be consulted.

Tt is frankly difficult to comprehend just how Kiely’s
counsel, given the objective good faith demanded of every lawyer
under Rule 11(b) coupled with the plausibility requirement
imposed by the Supreme Court’s Twombly-Igbal duo, can assert that
the amount in controversy exceeds the $5 million floor necessary
to invoke CAFA. At a minimum Kiely’s counsel should be called

upon to expand on the ipse dixit assertions in the Complaint.

Accordingly this Court orders Kiely’s counsel to appear at an
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 6 of 25 Page ID #:347
Case: 1:10-cv-06694 Document #: 4 Filed: 10/19/10 Page 3 of 3 PagelD #:26

initial status hearing at 8:45 a.m. October 26, 2010 to address
that question, and a copy of this memorandum order is also being
transmitted to Abbott so that it may arrange for its counsel to

be present as well.

Milton I. Shadur
Senior United States District Judge

 

Date: October 19, 2010
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 7 of 25 Page ID #:348

EXHIBIT B

 

EXHIBIT B
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 8 of 25 Page ID #:349

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

MARIA C. KEILY, No. 10 C 6694
Plaintiff, Chicago, Illinois
October 26, 2010

8:45 o'clock a.m.
-VS-

ABBOTT LABORATORIES, INC. and
ABBOTT LABORATORIES,

Defendants.

TRANSCRIPT OF PROCEEDINGS - STATUS
BEFORE THE HONORABLE MILTON I. SHADUR

APPEARANCES:

For the Plaintiff: EDELSON McGUIRE, LLC
350 North LaSalle Street
Suite 1300

Chicago, Illinois 60654
BY: MR. JAY EDELSON
MR. RAFEY S. BALABANIAN

For the Defendant: PATTERSON BELKNAP WEBB & TYLER
1133 Avenue of the Americas
New York, New York 10036
BY: MR. JOHN D. WINTER
and
WINSTON & STRAWN LLP
35 West Wacker Drive
Chicago, Illinois 60601
BY: MS. STEPHANIE S. McCALLUM

Court Reporter: ROSEMARY SCARPELLI
219 South Dearborn Street
Room 1412
Chicago, Illinois 60604
(312) 435-5815

 
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 9of25 Page ID #:350

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THE CLERK: 10 C 6694, Kiely versus Abbott Labs.

MR. EDELSON: Good morning, your Honor, Jay Edelson
and Rafey Balibanian for the plaintiff.

MS. MCCALLUM: Stephanie McCallum on behalf of the
Abbott defendants.

MR. WINTER: John Winter on behalf of the Abbott
defendants. Good morning, your Honor.

THE COURT: Good morning. I appreciate all of you
coming in because as my short memorandum order reflected, you
know, our first responsibility is always to double-check on
the existence of jurisdiction. And when it comes to CAFA,
that -- particularly when it is coupled with a case -- a
couple of cases that are not the most popular in my court at
least, but I have to follow Twombly and Iqbal which requires
plausibility. I was very much concerned when I read the
complaint and I see that, you know, you have a six-day period
of time in which Abbott assertedly was either negligent or
culpable in failing to have a recall of Similac and somehow
the -- were talked about a potential class claim of $5
million.

So what don't you help me with that, and then maybe
I will hear from Abbott.

MR. EDELSON: Thank you, your Honor. And I
appreciate you raising the threshold question. Obviously, if

the Court doesn't have jurisdiction, it is in everyone's

 
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1 interest to know that at the beginning.
2 THE COURT: Right.
3 MR. EDELSON: A few points. One is our underlying
4 allegation is not premised solely on Abbott's failure to act
5 quickly. We think it is clear that they waited at least six
6 days. We believe it is going to -- we are going to be able
7 to prove it is many more than six days. But still we think
8 the initial fact they sold baby food with beetles and beetle
9 larvae in it was negligent, and that is going to extend --
10 THE COURT: Well, I am going to assume that for the
11 present because it is alleged in the complaint, and I credit
12 what is said in the complaint. What I am really focusing on
13 more is quantification.
14 MR. EDELSON: Right.
15 THE COURT: I mean it is also -- I take into
16 account the fact that, you know, when it comes to asserted
17 delay, I would think that it would be the responsible thing
18 to do is to do what you have alleged they did, and that is
19 to go to the FDA and get confirmation or lack of confirmation
20 about whether you were dealing with a serious health problem
21 or not. So I am puzzled about the assertion of delay. But,
22 on the other hand, I will -- you know, I credit that for this
23 purpose.
24 You have got, it seems to me, two problems -- at
25 least two problems. One is that I have serious question

 

 
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1 whether a national class is appropriate, given the fact that
2 you are relying on Illinois law. And then the related
3 problem is that if you are looking at I]llinois potential
4 plaintiffs, the prospect of hitting the -- catching the brass
5 ring or catching the pot of gold at the end of the rainbow is
6 somewhat more remote in terms of numbers. So why don't you
t focus on that.
8 MR. EDELSON: Of course. I will. There are a few
9 related points. First in terms of quantification, we allege
10 in the complaint, and we have a good-faith basis for this,
11 that this affected over a million people and over five
12 million tubs of the baby formula. That is Paragraph 20 and
13 Paragraph 20 -- 45 of the complaint. If you look --
14 THE COURT: Is that a million people in Illinois or
15 is that a million people nationally?
16 MR. EDELSON: Your Honor, with respect I will get
17 to the Illinois issue, which to me is separate.
18 THE COURT: Okay.
19 MR. EDELSON: But first figure out the overal]
20 framework, which is how much nationally, and then whether it
21 makes sense at this stage, a week into the case, to already
22 decide we can't get a nationwide class, which I am happy to
23 deal with.
24 THE COURT: Yeah.
25 MR. EDELSON: The defendants have an 8-K that was

 

 
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1 put out September 8th, 2010 -- I may have the date wrong. I
apologize. September 22nd, 2010 where they said that they
were anticipating $100 million loss due to the sales returns
alone. When you are looking at defendant's own admissions
about the scope of the case, I think that that makes it
really clear we have a good-faith basis to think that there
are five million tubs implicated, over a million people
implicated, certainly well over five million.

Now let's get to the second part.

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THE COURT: Wait a minute. What was contained in

11 the 8K loss from what, from recall]?

12 MR. EDELSON: Just from the sales returns alone.
13 THE COURT: Of which product, this one?

14 MR. BALABANIAN: Of Similac.

15 MR. EDELSON: Correct, of this product, this

16 recall. This was -- this was a huge, huge recall. It is not

17 a small issue.
18 THE COURT: No, I understand.
19 MR. EDELSON: This is the type of thing were

20 Senator Harkin in Iowa said that this may be affecting the
21 ability for parents to find baby formula in America. Huge
22 recall.

23 THE COURT: Yeah.

24 MR. EDELSON: I mean there have been numerous

25 federal cases filed, and every other court has accepted

 

 
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1 jurisdiction. You have your own independent obligation, and
I accept that.

THE COURT: Of course, their potential loss is not
the same as potential recovery on the part of plaintiffs
because they may be swallowing -- that is a bad pun -- they
may be facing the prospect of pulling a lot more product back
in order to avoid future exposure. But the idea that somehow
that then correlates to what plaintiffs are entitled to
recover is a non sequitur.

MR. EDELSON: I -- I believe that it is not. That

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11 is not the same. The idea it is a non sequitur I would

12 disagree with. Your Honor, the question is at this pleading
13 stage whether we have a good-faith basis to believe $5

14 million at issue. When we -- when we alleged that there were
15 five million tubs implicated, over a million people who are
16 part of the putative class, and their 8-K, which didn't

17 allege -- but the Court can take judicial notice of it --

18 mentions the $100 million number. And we can debate, you

19 know, whether, when we get into the actual discovery --

20 THE COURT: No, I am sorry, that is not debatable.
21 That is not debatable. To somehow correlate the cost toa
22 party of a recall which is -- which is essentially protective
23 of their view of the public good, okay, and that they are

24 swallowing a very, very large number in those terms does not

25 mean that there are people out there who are harmed to the --

 

 
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1 to any extent that is somehow a -- necessarily a particular
fraction of that or even a major fraction of that.
Indeed, quite the contrary. The very fact that

they -- that they ordered a recall makes it that much less

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5 likely that you have got harms consequent because essentially
6 they have cut off all future harms by pulling the product.

7 And so it is -- again that is why I said it is a non

8 sequitur. It doesn't follow.

9 MR. EDELSON: Yeah. With respect, that is -- that
10 is -- that is -- I understand the Court's view. The reason
11 that we mentioned the $100 million figure would be, for
12 example, what if it were a trillion-dollar recall, that might

13 impact something. If it were a million-dollar recall, that

14 would impact something.

15 My point was that this gives -- this gives a basis
16 for our allegation --

17 THE COURT: You think it gives credence, and what I
18 am telling you is that you are dealing with a very different
19 apple and orange in those two items.

20 MR. EDELSON: Your Honor -- your Honor, we are --
21 at this stage my view is you have got to look at the

22 allegations of the complaint. If we say there are over five

23 million tubs implicated, if they are claiming that we don't
24 have a good-faith basis for it, they have -- they have

25 remedies. They can file a Rule 11 motion. They can do

 

 
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1 whatever they want. I don't think that is in dispute. We --
2 if we say there is over a million people in the class and
3 over five million tubs implicated and over $5 million in
4 damage, I don't believe the 7th Circuit precedent says that
5 -- that the Court is allowed to speculate and say maybe that
6 | .we are not --
t THE COURT: I am sorry, I am not speculating, you
8 are the one who is speculating. And, you know, I take -- I

9 take the responsibility very seriously in terms of the
10 threshold determination. That is why I had you come in. And
11 maybe I ought to hear from defense counsel because, you know,
12 they were on the firing line on this one. Maybe you can help
13 me.
14 MR. WINTER: Yes, your Honor. Your Honor, we agree
15 with you on the question of the 12(b)(1) motion that we are
16 going to make on the claims as pled in this complaint. I
17 think there is just a little nuance that we are going to have
18 to address with you. Iqbal was a 12(b)(6) motion. This is a
19 12(b) (1) motion.

20 THE COURT: I understand that.

21 MR. WINTER: And -- but I think the Supreme Court
22 precedents are all going to fall into place here.

23 You are 100 percent right on, you know, what

24 happened beginning on September 16th, which is a Thursday.
25 It is matter of public record. On Sunday the company

 

 
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1 realized the scope of an issue, called FDA on Monday to
determine how big a recall would be prudent. And that is
executed by Tuesday. And --

THE COURT: It is a six-day spread.

MR. WINTER: Six-day spread, including a weekend,

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6 where everyone is being very, very -- you know, moving with
7 all due deliberate speed to understand the problem and then
8 take an appropriate action. Yes, we recalled more than five
9 million tubs of this product because that is what we thought
0 was the appropriate thing to do. But that, as you have

11 pointed out, Judge, doesn't translate into someone being able
12 to satisfy any of the prerequisites for this $5 million

13 damage claim, Judge. It just -- it does not follow. It is
14 just not plausible.

15 Everyone understands what could happen. I mean it
16 is less than five in a million tubs that potentially have
17 this problem. But everyone, FDA, the company, has looked at
18 this. It is not a health hazard. So you then look at a

19 situation and say, how can someone make out the $75,000.00

20 claim or the $5 million claim? And we all know what the 7th

21 Circuit precedents are.

22 THE COURT: Well, the 75,000 is really not in
23 play --

24 MR. WINTER: Right.

25 THE COURT: -- because we are dealing -- if you

 

 
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1 were dealing with straight diversity, everybody agrees that

2 straight diversity would not exist. You have got an I1linois

3 citizen. You have got an I]linois company.

4 MR. WINTER: Right.

5 THE COURT: So that is not in it. I am really

6 looking at the global number.

7 MR. WINTER: And when we look at the global number,

8 is it plausible that they are going to be able to do that?

9 The answer is no because we have to look at 7th Circuit
10 precedent here on class certification and a lot of different
11 issues and the underlying issue which you have raised in your
12 order. And it is not just -- under Iqbal, Twombly, whatever
13 you want to look at, this is just not going to survive the
14 motion to dismiss which we are going to make.
15 THE COURT: Anyway, come back again to how you --
16 how you generate your numbers from -- by the way, as I read
17 the complaint, the complaint said that what had been
18 identified was a -- a single batch at a single facility. Is
19 that what happened?
20 MR. WINTER: That is -- it 1s a single line -- this
21 factory has multiple lines. It is a single line at a single
22 factory. And it was found in one batch on September 16th.
23 So what that led to is a much broader recall.
24 THE COURT: Okay. Counsel, I am still -- I confess
25 that I am still extremely troubled. I just don't see the

 

 
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 18 of 25 Page ID #:359
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1 thing even beginning to approach what is needed to bring CAFA
into play. And what that means, I would think, is that, you
know, you may or may not be in a position to assert a

standard, you Know, class action, but you may be required to

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5 do that in a State Court of competent jurisdiction and you

6 can do battle there.

7 I have to guard the entrants to the federal

8 courthouse door. And so mere did you get your number? You
9 are talking -- you have again talked about the scope in terms

10 of the protective measure that was taken. But I haven't

11 heard anything to relate that to prospective damages on the

12 part of the class as you have defined it --

13 MR. EDELSON: Your Honor --

14 THE COURT: -- or the classes, the class and

15 subclass.

16 MR. EDELSON: One thing, my personal belief is that

17 if there is a dispute about jurisdiction, it is something

18 which you err on the side of not finding jurisdiction because

19 the plaintiff does have other alternatives. You will not be

20 depriving our plaintiff or the putative class of a right to

21 pursue the case.

22 THE COURT: Oh, yeah, it would be, obviously,
23 dismissal without prejudice. No question about that.

24 MR. EDELSON: I understand. So as I am hearing

25 this, our concern is even if we were to convince you that

 

 
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 19 of 25 Page ID #:360
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1 there is $5 million damages, which -- which I do believe
there are, it is --

THE COURT: I will tell you what I think makes
sense: Look, I think that on the basis of the -- of what we

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5 have before us now, you really have not stated an effective
6 case for federal jurisdiction. Now, you file a corresponding
7 lawsuit in the State Court system. You engage in appropriate
8 discovery. There may come a point at which it -- you are

9 able to establish, oh, yes, there is $5 million in
10 controversy, you know, that the -- if you look at 1440 --
11 1446 -- wait a minute. Nope, wrong book.
12 I was thinking about whether Abbott might choose to
13 move this one to the federal system if that would emerge and
14 that would -- I suppose they could do that. But in your case
15 it seems to me that if you establish the predicate for doing
16 it, I am just trying to think -- I don't know of any
17 provision under which a plaintiff can essentially remove --

18 and I haven't looked at the -- I haven't looked at the -- at
19 the CAFA provision on that. Let me take --

20 MR. EDELSON: Your Honor, there are none. If we
21 amended --
22 THE COURT: Under 1453. Wait a minute. Let me

23 take a look. I don't think -- I don't think there are. No,
24 I guess not.
25 Go ahead.

 

 
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1 MR. EDELSON: Your Honor, our -- the one concern

2 which I would like to raise is we would feel it would be very

3 unfortunate and we would think that it would not be in

4 keeping with -- with everyone's duties as officers of the

5 Court if we filed in State Court and then there was a removal

6 motion. All we are trying to do is avoid a fight about which

7 court it ought to be in. I think defense counsel's

8 statements on the record are clear.

9 They did make a couple comments I would just want
10 to respond to on the record. They seem to suggest whether we
11 can get class classification or whether we can survive a
12 motion to dismiss bears on whether the Court has
13 jurisdiction. I do not believe that is the law. The law is
14 whether we alleged sufficient facts.

15 THE COURT: Right.

16 MR. EDELSON: And so with that standard, defendant
17 saying it is not plausible for us to claim that there is five
18 million at issue, your Honor seems to think they have got the
19 better argument -- and we respect that -- so we -- we are

20 happy to voluntarily dismiss or just let your Honor dismiss
21 the case and we will file in State Court.

22 THE COURT: All right. So the dismissal is without
23 prejudice, obviously. And that means that you are -- that
24 they are fair game for you. And I will tell you, I wonder
25 whether both parties -- well, that would be too fancy. Okay.

 

 
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1 I will treat it as a -- as a dismissal without prejudice.
2 And I really appreciate both sides coming in and
3 being geared up for this one because, as I say, the problem
4 sort of jumped off the page for me when I read the complaint
5 and I felt it was in both sides’ interest to tee it up to get
6 a response from you.
7 MR. EDELSON: Thank you for flagging the issue.
8 MR. WINTER: Thank you, Judge. Appreciate it.
9 MR. EDELSON: Appreciate it, your Honor.

10 (Which were all the proceedings heard. )

11 CERTIFICATE

12 I certify that the foregoing is a correct transcript

13 from the record of proceedings in the above-entitled matter.

14

15 s/Rosemary Scarpel1]i/ Date: October 26, 2010

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EXHIBIT C

 

EXHIBIT C
Case 8:10-cv-01995-JVS-RZ Document 14-1 Filed 02/07/11 Page 23 of 25 Page ID #:364

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

JASON JOVINE, individually and on
behalf of all others similarly situated,

Plaintiff,
Case No.

 

State Case No. 50 2010 CA 029178
ABBOTT LABORATORIES, INC. d/b/a
ABBOTT SALES, MARKETING and
DISTRIBUTION CO., a Delaware
corporation, and ABBOTT
LABORATORIES d/b/a ABBOTT
NUTRITION, an Illinois corporation,

CLASS ACTION

Defendants.

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DECLARATION OF JEFF BARTON

Pursuant to 28 U.S.C. § 1746, the undersigned states as follows:

1. My name is Jeff Barton. | am sui juris, over the age of 21, have personal
knowledge of the facts stated in this Declaration, and if sworn as a witness, can testify to these
facts.

2. I am employed by Abbott Laboratories d/b/a Abbott Nutrition (“Abbott”), which
has been named as a defendant in the above-captioned proceeding.

3. My title is Division Vice President and Controller, Finance, Abbott Nutrition
Products Division.

4. I have been employed by Abbott since August 13, 1990. I am authorized to
execute this Declaration on behalf of Abbott.

5. As Division Vice President and Controller, Finance, 1 am familiar with Abbott’s

business operations regarding its sales of Similac-brand powdered infant formula products.

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6. In September 2010, Abbott initiated a proactive, voluntary recall of approximately
five million containers of certain Similac-brand infant formula products distributed between
November 2007 and September 2010.

7. Abbott has offered, and continues to offer, consumers who purchased any recalled
product, whether used or unused, the option of returning the recalled product to their place of
purchase for a full refund of the purchase price or returning the recalled product directly to
Abbott for a full refund at no cost to the consumer.

8. As of January 11, 2011, more than 100,000 separate households had returned
containers of product directly to Abbott pursuant to this recall.

9. As of January 11, 2011, the purchasers of these returned products had filed refund
claims with Abbott in the amount of $5,911,391.

10. As of January 11, 2011, the purchase price for each unit of recalled product for
which a refund has been sought, according to customers submitting refund claims, ranges from
$3.00 to $29.99. As of January 11, 2011, the average purchase price of all units of recalled
product which have been returned, according to customers submitting refund claims, is $20.13.

11. An unknown additional number of consumers returned recalled product to
retailers, who, in turn, returned the product to Abbott for a refund. Abbott is not aware of the
portion of refunds it has paid to retailers that correspond to product which had been returned to
the retailer by a consumer (as opposed to product that the retailer had never sold).

I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 25, 2011, at Columbus, Ohio.

were

 

 

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Division Vice President and Controller, Finance,
Abbott Nutrition Products Division.

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